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                                                United States Courts Southern
                                                       District of Texas
                                                              FILED
                                                          2/3/2022
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